            Case 4:21-cv-40049-TSH Document 14 Filed 05/17/21 Page 1 of 8




                      UNITED STATES DISTRICT COURT,
                       DISTRICT OF MASSACHUSETTS

 MARK BRAY                                       )
    Plaintiff,                                   )
                                                 )
 v.                                              )
                                                 )
 WORCESTER POLYTECHNIC                           )      Case No. 4:21-cv-40049
 INSTITUTE                                       )
     Defendant                                   )
                                                 )
                                                 )



  EMERGENCY SUPPLEMENTAL MOTION FOR NEW EVIDENCE RECEIVED IN

      SUPPORT OF A TEMPORARY RESTRAINING ORDER AND PRELIMINARY

                                         INJUNCTION



Plaintiff Bray brings this Emergency Supplemental Motion for new evidence received in support

of a TRO and Preliminary Injunction to order Worcester Polytechnic Institute (“WPI”) to allow

Bray to graduate with his class, with honors, on May 20, 2021 and list him on the commencement

brochure.



In support of this motion and other claims, Bray relies upon the following attached exhibits.



This is an emergency supplemental motion which respectfully requires the Court’s ruling as

waiting does not permit adequate time for Bray to graduate with his class as described by

Defendant’s counsel at the May 17, 2021 hearing regarding that motion.
         Case 4:21-cv-40049-TSH Document 14 Filed 05/17/21 Page 2 of 8




Following the May 17, 2021 hearing, Plaintiff Bray received the attached correspondence. (See

Exhibit 1). Defense counsel at the TRO hearing indicated to this Court that Plaintiff would be

listed in the commencement brochure as all of the candidates are listed. Following the hearing

with this Court, Plaintiff Bray learned that this representations made to the Court by defense

counsel were false when Bray received notice through the student portal stating Bray would not

be listed in the commencement brochure. (See Exhibit 1). Moreover, students receiving honors

at the graduation have received such notice today, while Bray has not received such notification.

(See Exhibit 2)



 For the foregoing reasons, Plaintiff respectfully requests that the Court temporarily restrain and

 preliminarily enjoin WPI from imposing sanctions on Plaintiff, order WPI to list Bray in the

 commencement brochure as was represented by WPI’s counsel at the May 17, 2021 hearing to

 this Court, allow him to graduate with honors on May 20, 2021, and consider imposition of

 sanctions, including costs and attorneys’ fees incurred with the filing of this motion upon WPI

 for the misrepresentations made to this Court.




Dated: May 17, 2021

Respectfully submitted,




Mark Bray

Through his Attorney,
        Case 4:21-cv-40049-TSH Document 14 Filed 05/17/21 Page 3 of 8




Adam Beck, Esq.

102 Osgood Street

Andover, MA 01810

978.807.3202

Dradambeck2010@gmail.com
Case 4:21-cv-40049-TSH Document 14 Filed 05/17/21 Page 4 of 8




                          Exhibit 1
5/17/2021              Case 4:21-cv-40049-TSH Document    14 Filed
                                               WPI Degree Candidate     05/17/21 Page 5 of 8
                                                                    Information




 WPI Degree Candidate Information

 ** Important ** This web page displays your current status for the degree and graduation date shown.
 Your majors, minors and areas of concentration have been updated based on the information provided on the
 degree application form, and are tentative pending completion of the approved program
 requirements.

         The Registrar's Office, in conjunction with each department's Program Review Committee, is reviewing
         all degree candidates for the upcoming Graduation date. This process can take some time. The
         information below will help you understand your status. When all requirements are completed, and
         your records updated, your status will be updated to "Confirmed".
         Honors designation, if applicable, will be displayed a few days prior to your graduation date.
         If you have not yet done so, please complete the Name pronunciation form if applicable. You may also
         wish to update your Student Activities List. The links are provided at the bottom of this page.

         If you have any questions, please contact registrar@wpi.edu.
         If you are a degree candidate for the next graduation period (October, February, or May), and your
         name and major information does not appear here, please contact the Registrar’s Office.

         **Statement of Student Responsibility** All students are responsible for familiarizing themselves
         with and understanding the implications of all institutional policies, procedures, and requirements
         pertaining to graduation and degree requirements. This includes any outstanding financial obligation.


 Degree            Bachelor of Science
 Sought
 Anticipated       MAY-2021
 Grad Date
 Major             Biomedical Engineering

 Concentration
 Second Major Professional Writing
 Concentration
 Minor 1
 Minor 2

 Graduation        Approved for "Walker" Participation
 Status            Approved for participation in the May ceremony as a "Walker".
                   Please note: You will wear your robe and march in the Procession and your name will be
                   called as you cross the stage. However, your name will not be listed in the Commencement
                   brochure.

 Honors
 Sufficiency       Completed (14-MAY-2020)

 IQP               Completed (24-JAN-2020)

 MQP               Completed (06-MAY-2021)


 Diploma           Bray, Mark Bright
 Name
RELEASE: 7.0

© 2021 Ellucian Company L.P. and its affiliates.


https://bannerweb.wpi.edu/pls/prod/hwwkdegcan.P_DegCan                                                           1/1
         Case 4:21-cv-40049-TSH Document 14 Filed 05/17/21 Page 6 of 8




                                           Exhibit 2


From: Snoddy, Gregory A <gsnoddy@wpi.edu>
Sent: Monday, May 17, 2021 11:43 AM
Subject: Commencement Honor Cords


Good morning;



We have an Commencement Honor Cord for you at the Rubin Campus Center Information Desk.



Please go there to pick up your cord before this Friday. You may pick up your cord from 7:30 am
– 11:00 pm this week



Thank you and let’s enjoy this week leading up to your graduation!



Gregory Snoddy, Ed.D.

Assistant Vice President

Dean of Students

Worcester Polytechnic Institute

508-831-5201
         Case 4:21-cv-40049-TSH Document 14 Filed 05/17/21 Page 7 of 8




CERTIFICATION UNDER LOCAL RULE 7.1(a)(2)



On May 17, 2021, undersigned counsel for Bray contacted Defendant to discuss this motion.

Counsel has not responded. Accordingly, the parties were not able to resolve or narrow the issues

presented by this motion in advance of filing.



               Dated: May 17, 2021

               s/ Adam Beck

               Counsel for Plaintiff
           Case 4:21-cv-40049-TSH Document 14 Filed 05/17/21 Page 8 of 8




CERTIFICATE OF SERVICE



On May 17, 2021, the undersigned attorney caused the foregoing Motion to be filed electronically

with the United States District Court for the District of Massachusetts, which will be thereby served

upon all parties registered to receive notice via the

Court’s CM/ECF system, or in the alternative service through the Constable. In addition, the

undersigned attorney served both paper and electronic copies of the foregoing motion via e-mail

and via U.S. mail (first class, postage prepaid), upon the Defendant in this matter. Defendant’s

contact information is as

follows:


               Scott Roberts

               HIRSCH ROBERTS WEINSTEIN LLP

               24 Federal Street, 12th Floor
               Boston, Massachusetts 02110

               (617) 348-4331

               sroberts@hrwlawyers.com


               Dated: May 17, 2021

               s/ Adam Beck

               Counsel for Plaintiff
